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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA

 METLAKATLA INDIAN COMMUNITY, a
 Federally Recognized Indian Tribe,

              Plaintiff,
                                                Case No.: 5:20-cv-00008-SLG
 v.

 MICHAEL J. DUNLEAVY, Governor of the           MOTION FOR SUMMARY
 State of Alaska,                               JUDGMENT
 DOUG VINCENT-LANG, Commissioner of
 the Alaska Department of Fish and Game,
 and JAMES E. COCKRELL, Commissioner
 of the Alaska Department of Public Safety,

              Defendants.



             DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT




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                                    INTRODUCTION

       This is a case about aboriginal rights.1 As the U.S. Supreme Court has said,

aboriginal rights are rights established by a tribe proving they actually, exclusively,

and continuously fished in a certain location since “time immemorial.”2

       Here, the Metlakatla Indian Community (MIC) must prove that the Metlakatlans—

Tsimshian members of a Christian community named Metlakatla that emigrated to the

Territory of Alaska from Canada in 1887—have fished in the waters now identified as

fishing districts 1 and 23 since “time immemorial.”4

       MIC’s case has several flaws.

       The Alaska Native Claims Settlement Act (ANCSA) broadly extinguished all

aboriginal rights in Alaska and barred any aboriginal rights litigation.5 Congress

included no exemptions.6 ANCSA ends this case.

       Even if ANCSA does not apply, MIC has the burden of proving that in 1891 the

Metlakatlans had actual, exclusive, and continuous use of the historic waters of fishing



1
       Metlakatla Indian Community v. Dunleavy, 58 F.4th 1034, 1046 (9th Cir. 2023).
2
      Johnson v. M’Intosh, 21 U.S. 543, 549-550 (1823); Northwestern Bands of
Shoshone Indians v. U.S., 324 U.S. 335, 338 – 339 (1945); Tee-Hit-Ton Indians v. U.S.,
348 U.S. 272, 277 (1955).
3
        “Fishing districts 1 and 2” is defined in Alaska Department of Fish and Game
regulations. 5 AAC 33.200(a) – (b); see also State of Alaska – Salmon and Shellfish
Statistical Area Maps, Map 5 (April 2022).
4
       Metlakatla Indian Community, 58 F.4th at 1046.
5
       43 U.S.C. § 1603(c).
6
       Id.
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districts 1 and 2 since time immemorial. As their complaint shows, MIC can never prove

the Metlakatlan emigrants held aboriginal rights in those waters in 1891.7

       The Court of Claims found the Tlingit and Haida Indians held aboriginal fishing

rights in Southeast Alaska, and those rights were taken by several legislative acts like the

creation of the Annette Islands Reserve.8 The Tlingit and Haida Indians received just

compensation for those takings.9

       That takings litigation is important for a few reasons. It highlights the significant

factual deficiencies of MIC’s aboriginal rights case. It also bars MIC from attempting to

confuse the scope of this Court’s aboriginal rights inquiry. This Court has been asked to

determine the aboriginal rights held by the Tsimshian emigrants in 1891; not the

aboriginal rights held by MIC members of Tlingit and Haida descent.10 However, due to

res judicata, ANCSA and successor-in-interest case law, MIC cannot rely on those

Tlingit and Haida aboriginal rights to avoid summary judgment.

                        SUMMARY JUDGMENT STANDARD

       Under Federal Rules of Civil Procedure, Rule 56, “The court shall grant summary

judgment if the movant shows that there is no genuine dispute as to any material fact and




7
       Id.
8
      See MIC v. Dunleavy, Case No. 5:20-cv-00008-SLG, Second Amended
Complaint, ¶ 15 (May 12, 2023); and Tlingit and Haida Indians of Alaska v. U.S.,
177 F.Supp. 452, 467-468 (Ct. Cl. 1959).
9
       Tlingit and Haida Indians of Alaska v. U.S., 389 F.2d. 778 (Ct. Cl. 1968).
10
       Metlakatla Indian Community, 58 F.4th at 1046.
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the movant is entitled to judgment as a matter of law.” Summary judgment is appropriate

here.

                              STATEMENT OF THE CASE

I.      Explaining the use of Tsimshian, Metlakatlans, and Metlakatla Indian
        Community in this brief.

        In an aboriginal rights case, a court must decide whether a specific tribe actually,

continuously, and exclusively fished in a specific location since time immemorial.11 This

yields two questions. First, what is the specific tribe for purposes of this Court’s

aboriginal rights inquiry? Second, how should these various terms be used?

        The Ninth Circuit answered the first question by remanding for this Court to

determine whether Tsimshian that were living on the Annette Islands when Congress

created the reservation in 1891 had aboriginal rights in the historic waters of fishing

districts 1 and 2.12 The specific tribe, then, is the emigrant Tsimshian in 1891; i.e., the

Metlakatlans as Congress used the term in 1891.13

        The second question requires outlining the distinctions between MIC, Metlakatla

community, and the Tsimshian.




11
        Metlakatla Indian Community v. Dunleavy, 58 F.4th at 1046.
12
        Metlakatla Indian Community, 58 F.4th at 1046.
13
      An act to repeal timber-culture laws, and for other purposes, 26 Stat. 1095, 1101 §
15 (March 3, 1891) (Congress differentiated Metlakatlans from Alaska Natives).
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      Tsimshian is a historic tribal designation like Tlingit or Aleut or Athabascan of the

Canadian pacific northwest;14 the name meaning “people inside the Skeena River.”15

      The Metlakatla community arose on the Annette Islands in 1887. Metlakatla was

a religious community founded by Father Duncan in British Columbia in the 1860s.16

Metlakatla was comprised of Metlakatlans: Tsimshian who joined Metlakatla.17 Not all

Tsimshian were Metlakatlan, because not all Tsimshian joined Metlakatla.18 When these

Metlakatlans emigrated to the Territory of Alaska in 1887, they started the Metlakatla

community.19 Alaska Natives joined the Metlakatla community.20


14
      Id.
15
       The Skeena River is in British Columbia; emptying near Prince Rupert.
Britannica, “Skeena River,” available at: https://www.britannica.com/place/Skeena-River
(accessed on August 15, 2023).
16
      Id.
17
       Hosmer, Brian, American Indians in the Marketplace, p. 199 – 200 (Univ. of
Kansas 1999). Obviously, the Metlakatlans themselves, who began as a religious/political
body in the 1860s, cannot claim that in 1891 they had been fishing in a location since
“time immemorial,” as thirty years is not “time immemorial.” The Ninth Circuit referred
to the Metlakatlans’ Tsimshian ancestors’ aboriginal rights and the historical record
recited by the Ninth Circuit was of the Tsimshian. Metlakatla Indian Community,
58 F.4th at 1037-1039, 1046.
18
       There are still Tsimshian living in Canada. See Lax Kw’alaams Band, “History,”
available at: https://laxkwalaams.ca/history/ (accessed on August 15, 2023).
19
      Technically, the community was named Metlakatla. But the Defendants have used
Metlakatla community in an effort to avoid the confusing distinguishing titles of “old”
Metlakatla and “new” Metlakatla.
20
       Alaska Native Land Claims, Hearings Before the Subcommittee on Indian Affairs
of the Committee on Interior and Insular Affairs – House of Representatives, “H.R. 3100,
H.R. 7039, and H.R. 7432 – To Provide for the Settlement of Certain Land Claims of
Laska Natives, and for Other Purposes,” Serial No. 92-10, pp. 307 – 309, 328, 395
(U.S. Gov. 1971) (see statement by MIC attorney S. Bobo Dean that in 1968, 22 percent
of the MIC membership was Alaska Native).
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        Lastly, the Metlakatla Indian Community (MIC) – a successor-in-interest to the

Metlakatla community – is a governmental body, which incorporated under the Indian

Reorganization Act in 1944 and became a federally recognized tribe in 1993.21

MIC’s modern tribal membership includes ancestors of the Metlakatlans that emigrated

to Alaska as well as ancestors of Alaska Natives.22

        In this case, the terms Metlakatla Indian Community (MIC), Metlakatla,

Metlakatlan, and Tsimshian have often been used interchangeably to confusing effect.23

To avoid that problem, in this motion, the terms Tsimshian, Metlakatlans, Metlakatla

community, and MIC are used consistent with the above. This should help spotlight the

central issue before this Court: whether the Tsimshian emigrants’–the Metlakatlans—

aboriginal fishing rights in 1891 included fishing districts 1 and 2.

II.     Historical background

        Because this is an aboriginal rights case, the history of Father Duncan, the

Tsimshian, the Metlakatlans, the Tlingit and Haida takings litigation, and ANCSA all

play an important part.




21
       U.S. v. State of Or., 29 F.3d 481, 485 (9th Cir. 1994); U.S. Dept. of the Interior,
Constitution and By-Laws of the Metlakatla Indian Community Annette Islands Reserve
Alaska (August 23, 1944); and Indian Entities Recognized and Eligible to Receive
Services from the United States Bureau of Indian Affairs, 538 Fed. Reg. 54,364, 54,364,
1993 WL 420646 (Oct. 21, 1993).
22
        Supra note 22.
23
        See Amended Complaint; and Metlakatla Indian Community v. Dunleavy, 58 F.4th
1034.
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       That history shows that while the Metlakatlans, the emigrant Tsimshian, in 1891

may have held aboriginal rights in British Columbia, they never held such rights in the

historic waters of fishing districts 1 and 2.

       A.     In 1862, Father Duncan forms a religious community in British
              Columbia he names Metlakatla; a community comprised of Tsimshian
              who historically fished in the freshwater streams near Prince Rupert.

       Prior to moving to the Annette Islands, Tsimshian lived in concentrated groups in

British Columbia.24 The Tsimshian were a ”mainland coastal people” that fished in

freshwater streams and not the open ocean.25 They lived in “a single winter village,

moving in the spring to fishing villages on the lower Nass and in the summers to fishing

camps on other rivers.”26 Their camps were situated as far north as what is now known as

Finlayson Island and as far south as what is now known as Price Island.27

       William Duncan, an Anglican missionary, arrived in British Columbia in 1858.28

In 1862, he formed “the settlement, known as Metlakahtlan [sic], in British Columbia.”29




24
      Halpin, M. M., and M. Seguin. Tsimshian Peoples: Southern Tsimshian,
Coast Tsimshian, Nishga, and Gitksan in Wayne Suttles (ed.), Northwest Coast, 267-284,
Washington: Smithsonian Institution (1990).
25
      Josephson, Karla, Alaska and the Law of the Sea, “Use of the Sea by Alaska
Natives – A Historical Perspective,” p. 28 (Univ. of Alaska 1974).
26
       Halpin and Seguin, at p. 281.
27
       Id.
28
       Id.
29
       Id.
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Tsimshian joined this community and were named Metlakatlans, after Duncan’s

settlement.30

       Because Duncan encountered general resistance to his community and religious

practices, he began to consider where to relocate Metlakatla.31

       B.       The formation of “new” Metlakatla: in 1887 Father Duncan relocates
                Metlakatla to the Annette Islands located in the southeast of the
                Territory of Alaska where Community members faced resistance for
                fishing in Tlingit and Haida waters.

       Starting in the 1870s, Duncan began communicating with the United States about

relocating Metlakatla to the Territory of Alaska.32

       By this time, Duncan had already identified the Annette Islands—located in the

Southeastern portion of the Territory of Alaska near Ketchikan on Revillagigedo Island

and the site of a Tlingit fishing village – as suitable for “New Metlakatla.”33

       In 1887, Duncan visited Washington D.C, where he “hoped to purchase the

[Annette] island” from the United States.34 However, “[Duncan] was advised that, in as




30
       Id.
31
      Id.; see also Neylan, Susan, “Choose Your Flag,” New Histories for Old:
Changing Perspectives on Canada’s Native Pasts, p. 211 (UBC Press 2007).
32
       18 U.S. Op. Atty. Gen. 557, 1877 WL 4593 (February 28, 1877).
33
       Hosmer, Brian, American Indians in the Marketplace, p. 199 – 200, 205 (Univ. of
Kansas 1999). In 1891, Congress was under the belief that no Alaska natives used the
Annette Islands. 21 Cong. Rec. 10092, Testimony of Sen. Dawes (Sept. 16, 1890).
Tingle, George, “Report on the Salmon Fisheries in Alaska, 1896, p. 69 (Washington
Government Printing Ofc. 1897).
34
       Hosmer, p. 199 – 200.
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much as no land laws had been enacted for Alaska it was best that the colony go, not as a

group, but as individuals, to Alaska and obtain ‘squatters rights.’”35

       Duncan agreed. In 1887, Duncan and approximately 800 Metlakatlans emigrated

to the Annette Islands in the Territory of Alaska.36

       Census data shows that there were no Tsimshian residing in the southeast of the

Territory of Alaska prior to the relocation of the Metlakatlans in 1887.37

       After arriving, the Metlakatlans began to develop the Annette Islands; clearing

trees and land, building homes, building a timber mill, and building a cannery.38

The cannery was owned by the Metlakatla Industrial Company; a company “almost

entirely [owned] by Father Duncan.”39 They also fished in “several small streams on

Annette Island, Prince of Wales Island, and other locations along the southern Alaska

panhandle.”40




35
       Alaska Natives and the Land, p. 759 (1968).
36
       Hosmer, p. 199 – 200.
37
       Rogers, George W., Alaska in Transition: The Southeast Region, p. 181, 183, 203,
209 (John Hopkins Press 1960)
38
      Tingle, George, Report on the Salmon Fisheries in Alaska, 1896, at p. 8
(Wash. Gov. Printing Ofc. 1897).
39
       Id. at 69.
40
       Hosmer, p. 205
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       The Metlakatlans’ fishing in Southeast Alaska “soured relations with neighboring

Tlingit communities [who] apparently resented both the incursion of new fishermen and

the presence of foreigners on Annette Island.”41

       C.     Four years after arriving in the Territory of Alaska, Congress creates
              the Annette Islands Reserve.

       After living on the Annette Islands for four years under “squatters rights,”

Congress in 1891 set aside the Tlingit Indians’ and Haida Indians’ aboriginal lands,

waters, and fisheries to create the Annette Islands Reserve.42 In creating the Annette

Islands Reserve, Congress believed no one wanted or used the Annette Islands.43

       The creation of the Annette Islands Reserve increased tensions between the

Metlakatlans and Alaska Natives. Duncan conceded that some [Alaska Natives] lived

‘in fear of coming to us thinking that if they do so they will forfeit their rights in other

places where they have been used to fish and hunt.”44




41
        Hosmer, p. 205. This undermines any future assertions that the Metlakatlans held
“joint aboriginal title” with the Tlingit and Haida Indians. See U.S. v. Pueblo of San
Ildefonso, 206 Ct.Cl. 649 (Ct. Cl. 1975).
42
      An act to repeal timber-culture laws, and for other purposes, 26 Stat. 1095, 1101 §
15 (March 3, 1891).
43
      21 Cong. Rec. 10092, Testimony of Sen. Dawes (Sept. 16, 1890) (“ . . . that island,
which is good for nothing. . . Nobody wants [the island] now.”)
44
       Hosmer, p. 205.
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       Duncan’s comments were not unfounded. Tlingits that joined the Metlakatla

community were required to give up their individual “fishing stations” to the Metlakatla

community.45

       D.      President Wilson grants the Metlakatla community an exclusive fishery
               in 1916, something few Alaska tribes would ever obtain.46

       In 1916, President Wilson issued a presidential proclamation granting the

Metlakatla community an exclusive fishery.47

       The exclusive fishery comprised the waters 3,000 feet from the Annette Islands’

uplands; waters that were later determined to be the Tlingit and Haida Indians’ aboriginal

fisheries.48 Litigants challenged the President’s authority to expand the reservation

beyond the uplands, and the United States Supreme Court, without mentioning the

presidential proclamation, concluded that the geographic term “the body of lands known

as Annette Islands,” was ambiguous and so meant to include not only the uplands but

“embracing the intervening and surrounding waters as well as the uplands.”49 Because


45
      Hosmer, p. 205 (“[A] native Metlakatlan delegation visited Saxman and Ketchikan
in 1902, warning Tlingits ‘against taking any step for settling on [the Annette Islands]’
in ways other than the ‘legitimate door of entrance’ which was of course, ‘joining our
community, and obeying our rules of living.’”).
46
        In their Amended Complaint, MIC refers to the “Exclusive Zone.” See eg. ¶ 38k.
MIC appears to be referring to its exclusive fishery and not the exclusive economic zone.
See, NOAA, “What is the EEZ?”, available at:
https://oceanservice.noaa.gov/facts/eez.html (accessed on September 5, 2023).
47
       39 Stat. 1777.
48
       Price, Robert, The Great Father in Alaska, p. 99 – 100 (First Street Press 1990);
citing Memorandum of March 16, 1934 from Paul E. Gordon to John Collier.
49
       Alaska Pacific Fisheries Co. v. United States, 248 U.S. 78 (1918).
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they had this exclusive fishery, the Metlakatla community’s commercial fishery and

Duncan’s cannery prospered.50

          E.     After arriving on the Annette Islands in 1887, Metlakatlans who fished
                 in the Territory of Alaska’s waters were subject to the same laws as all
                 other commercial fishermen.

          From 1887 until statehood, the Territory of Alaska’s fisheries were relatively

unregulated.51 However, any laws Congress passed applied uniformly to everyone

commercial fishing in the Territory of Alaska. Metlakatla community members that

fished outside their exclusive fishery were not exempt from those commercial fishing

laws.52

          For example, on June 9, 1896, Congress passed “An act to provide for the

protection of the salmon fisheries in Alaska.”53 The 1896 Act barred the use of “dams,

barricades, fish wheels” or other devices that prevented “the ascent of salmon to their

spawning ground” to catch salmon.54 The Act also included season closures and limited


50
          Territory of Alaska v. Annette Island Packing Co., 6 Alaska 585 (D. Alaska 1922).
51
        John H. Clark, Andrew McGregor, Robert D. Mecum, Paul Krasnowski and Amy
Carroll, “The Commercial Salmon Fishery in Alaska,” Alaska Fishery Research Bulletin
12(1):1-146, pp. 1-3 (ADF&G 2006); available at:
http://www.adfg.alaska.gov/fedaidpdfs/AFRB.12.1.001-146.pdf (accessed on August 28,
2023).
52
       Act of July 1, 1870, 16. Stat. 180 (exempting Alaska Natives to allow them to hunt
for food, clothing, and boat manufacture); Act of June 7, 1902, 32 Stat. 327 (exempting
Alaska Natives from restrictions on taking game animals); and Alaska Game
Commission Act of 1925, 43 Stat. 739.
53
      Moser, Jefferson F., The Salmon and Salmon Fisheries in Alaska: Bulletin of the
United States Fish Commission for 1898, pp. 38 (Washington: GPO 1899).
54
          Id.
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the date and times people could fish.55 Although most commercial fishermen disregarded

the law, Duncan admitted that Metlakatlan fishermen followed it; presumably knowing

they did not hold an off-reservation fishing right or any legal exemption.56

       This also meant Metlakatlan fishermen, like all commercial fishermen, benefited

from the Territory of Alaska’s minimal regulations.57 From 1906 to 1924, forty-two bills

were introduced in Congress to increase regulations of the Territory of Alaska’s

fisheries.58 None passed.59

       By 1929, Congress’ light management of the southeast Territory’s fisheries caused

them to decline.60

       F.      In 1959, the Court of Claims finds the Tlingit and Haida Indians held
               aboriginal fishing rights in Southeast Alaska in 1884; thus, clarifying
               that when the Metlakatlans emigrated to the Annette Islands, they
               were fishing in Tlingit and Haida waters.

       Because they had an exclusive fishery, the Metlakatla community was not as

affected by the salmon fisheries’ downturn in the late 1920s.61




55
       Id.
56
       Report on the Salmon Fisheries in Alaska, 1896 at pp. 57 and 70.
57
       The Commercial Salmon Fishery in Alaska, pp. 1-3.
58
       Id. at p. 2.
59
       Id.
60
       Id.
61
      The Great Father in Alaska, p. 99 – 100; citing Memorandum of March 16, 1934
from Paul E. Gordon to John Collier.
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       Seeking similar economic success, Alaska tribes requested their own exclusive

fisheries and reservations.62 However, very few were granted.63

       The Tlingit Indians and the Haida Indians took a different approach. They argued

that they held an aboriginal right to Southeast Alaska’s fisheries, and that starting in

1884, those aboriginal rights were taken from them.64 In particular, they asserted the

creation of the Annette Islands Reserve (including exclusive use of waters around the

uplands) were takings of their aboriginal rights.65

       In 1935, Congress passed legislation authorizing the Tlingit and Haida Indians to

sue the United States for these alleged takings.66




62
       The Great Father in Alaska, p. 106 – 133 (noting the failed attempts to create
exclusive fisheries under the Alaska Indian Reorganization Act.).
63
       Id.
64
       Id.
65
        Tlingit and Haida Indians of Alaska v. U.S., 147 Ct.Cl. 315, 338 (1959)
(“The reservation, known thereafter as the Metlakahtla [sic] Indian reservation,
was administered by the Secretary of the Interior and became very prosperous. It was
probably the success of this reservation which prompted the Tlingits and Haidas to ask
that they be given a reservation where they could develop their own fishing, mining and
timber industries unmolested by the white settlers and used under the protection of the
Government.”).
66
       Act of June 19, 1935, 49 Stat. 388.
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       And in 1959,67 the Court of Claims found that the Tlingit and Haida Indians held

aboriginal rights to the lands and waters within Southeast Alaska.68 The Court of Claims

determined that when Congress created the Annette Islands Reserve in 1891 and when

President Wilson issued his presidential proclamation in 1916 creating an exclusive

fishery, both were takings from the Tlingit and Haida Indians.69 The Court of Claims held

that the Tlingit and Haida Indians used these lands, waters, and fisheries to the exclusion

of all other tribes.70

       From 1959 to 1968, the Tlingit and Haida Indians litigated their just compensation

for these takings. In 1968, the Court of Claims granted a final compensation award of

$7.2 million for the various takings.71 In their final award, the Court of Claims granted no

damages for their fisheries being taken; determining that the Tlingit and Haida Indians’




67
        It is unclear how long the Tlingit and Haida litigation was pending before the
Court of Claims. Based on Alaska Statehood hearings, the Tlingit and Haida had filed
claims under the 1935 Act prior to 1954. Hearings before the Committee on interior and
Insular Affairs, U.S. Senate, S. 50, January 20 – February 24, 1945, p. 206 – 208
(U.S. Gov. Printing Ofc. 1954). This would suggest the Court of Claims had the case for
at least five years.
68
       Tlingit and Haida Indians of Alaska, 177 F.Supp. at 467-468.
69
       Id.
70
       Id.
71
       Id. at 791. Note, after this litigation, it was determined that Tlingit and Haida
Indians had not been compensated for an additional 2.6 million acres taken from them,
which would be addressed in ANCSA. Arnold, Robert, Alaska Natives and the Land,
p. 543 (October 1968).
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fishing rights held no direct value because fish are migratory and cannot be appropriately

valued.72

       G.     In 1971, Congress passes ANCSA, which extinguished all aboriginal
              rights and claims based on aboriginal rights in Alaska; granting no
              exemptions for any tribes or organizations.

       Wanting to avoid additional aboriginal rights litigation—a strong possibility given

over 90 Alaska tribes had filed aboriginal rights petitions with BIA—negotiations began

in earnest to settle all aboriginal land claims and end all aboriginal claims litigation in

Alaska.73

       From 1968 to 1971, legislators, the Alaska Federation of Natives (AFN) Alaska

Tribes, and the State of Alaska negotiated the settlement of all aboriginal claims – land

claims as well as fishing and hunting claims – in Alaska.

       MIC was active in the ANCSA negotiations, in particular to ensure that they

retained the Annette Islands Reserve.74

       However, in early drafts of ANCSA, Congress struggled with how to address MIC

members; best exemplified in H.R. 13142.



72
       Id. at 790.
73
        Alaska Natives and the Land, p. 445-446. The Tlingit and Haida takings litigation
is included in ANCSA. 43 U.S.C. § 1615(c).
74
       Alaska Native Land Claims, Hearings Before the Subcommittee on Indian Affairs
of the Committee on Interior and Insular Affairs – House of Representatives, “H.R. 3100,
H.R. 7039, and H.R. 7432 – To Provide for the Settlement of Certain Land Claims of
Laska Natives, and for Other Purposes,” Serial No. 92-10, pp. 307 – 309, 328, 395
(U.S. Gov. 1971) (see Statement by Solomon Guthrie, mayor of Metlakatla, and
statement by Metlakatla’s attorney S. Bobo Dean).
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      H.R. 13142 first abolished all aboriginal claims of “natives” in exchange for

money and land.75 However, Congress defined “native” to exclude Tsimshian Indians,

because it believed all MIC members were Tsmishian and that no Tsmishian were Native

Alaskan.76 Congress thought this definition of “Native” would comprehensively eliminate

all aboriginal claims while also addressing MIC membership.77

      But H.R. 13142 presented two problems as it related to MIC: first, not all

Tsimshian Indians were from British Columbia, as there were some that had lived in

Southeast Alaska;78 second, not all MIC members were Tsimshian.79 Legislators were


75
       Alaska Native Land Claims, Hearings Before the Subcommittee on Indian Affairs
of the Committee on Interior and Insular Affairs – House of Representatives,
“H.R. 13142 and H.R. 10193 – Bills to Provide for the Settlement of Certain Land
Claims of Alaska Natives, and for Other Purposes,” Serial No. 91-8, pp. 20, 123
(U.S. Gov. Printing 1969).
76
       Alaska Native Land Claims, Hearings Before the Subcommittee on Indian Affairs
of the Committee on Interior and Insular Affairs – House of Representatives,
“H.R. 13142 and H.R. 10193 – Bills to Provide for the Settlement of Certain Land
Claims of Alaska Natives, and for Other Purposes,” Serial No. 91-8, p. 4 (U.S. Gov.
Printing 1969).
77
       Alaska Native Land Claims, Hearings Before the Subcommittee on Indian Affairs
of the Committee on Interior and Insular Affairs – House of Representatives,
“H.R. 13142 and H.R. 10193 – Bills to Provide for the Settlement of Certain Land
Claims of Alaska Natives, and for Other Purposes,” Serial No. 91-8, pp. 20, 123
(U.S. Gov. Printing 1969) (“We also feel that the Field Study report intended to exclude
all Tsimshian Indians, not simply those living in Metlakatla.”).
78
      Id.
79
       Alaska Native Land Claims, Hearings before Committee on Interior and Insular
Affairs United States Senate, S. 2906 and S. 1964, S. 2690, and S. 2020, February 8, 9,
and 10, 1968, p. 415 (statement of S. Bobo Dean) (U.S. Gov. Printing 1968);
Alaska Native Land Claims, Hearings before the Committee on Interior and Insular
Affairs, U.S. Senate, S. 1830, August 7 and 8, 1969, p. 109 (statement of Solomon
Guthrie) (U.S. Gov. Ofc. 1969).
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reminded that when Congress created the AIR in 1891, it was a home for both

Metlakatlans who arrived from Canada as well as Alaska Natives that would join.80

MIC’s attorney Dean Bobo and acting mayor of Metlakatla Solomon Guthrie confirmed

that MIC membership also included Alaska natives such as Tlingit Indians and Haida

Indians.81 Legislators also heard testimony that some Tsimshian were not MIC members

and were even Alaska native.82

       Accordingly, extinguishing aboriginal claims of “natives” only, and defining

“natives” to exclude Tsmishians would not be broad enough to extinguish all aboriginal

rights in Alaska.83

       During Congressional negotiations, both Attorney Bobo and Mayor Guthrie

explained that MIC wanted to retain the AIR as well as their exclusive fishery.

The Community’s exclusive fishery was so prosperous that Mr. Guthrie believed, if given

the choice between land and money settlements and retaining their exclusive fishery,

the former option would not be as “good [of] a deal.”84

       Still, Mr. Guthrie and Mr. Bobo also requested Congress provide MIC members a

portion of any ANCSA settlement; that such funding would aid the Metlakatla




80
       Id.
81
       Id.
82
       Id.
83
       Id.
84
       Id.
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community.85 In requesting such funding, Mr. Guthrie and Mr. Bobo never suggested that

Metlakatlans held off-reservation fishing rights or aboriginal rights in Alaska that

warranted compensation.86

       The final draft of ANCSA fixed H.R. 13142’s errors by comprehensively settling

and extinguishing all aboriginal claims. Unlike section 3 of H.R. 13142, which

extinguished only aboriginal claims of “natives,” and defined “natives” too narrowly,

ANCSA’s three extinguishment clauses did not hinge the extinguishment on the phrase

“native” and did not exempt MIC members.87 Instead, the three clauses extinguished any

and all aboriginal claims based on land and water conveyances, extinguished any

aboriginal claims based on occupancy and use, and extinguished any litigation and claims

against the State and Federal government based on aboriginal rights.88

       In addition to extinguishing all aboriginal claims throughout the entire State

(including any claims of MIC members), the ANCSA negotiations and final legislation

shows Congress comprehensively considered the Tsmishian, the Metlakatlans, and MIC

in general. It allowed Tsimshian who were not MIC members, and thus were not

authorized to use the Annette Island Reserve’s exclusive fishery or reside on the Annette

Islands, to be eligible for land and money settlement.89 It prohibited MIC members,


85
       Id.
86
       Id.
87
       85 Stat. at 710.
88
       43 U.S.C. § 1603.
89
       43 U.S.C. § 1602(b) (definition of native).
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regardless of whether they were Tsmishian or not, from being eligible for any additional

money or land settlement under ANCSA; determining that retaining their 82,000 square

foot reservation and exclusive fishery were significant holdings given village

corporations were receiving only 69,120 acres and no exclusive fisheries.90

       Throughout these negotiations, Congress never suggested that MIC members held

a unique fishing right that meant they would be treated differently from Alaska Native

fishermen.91

       The State agreed to ANCSA’s terms and paid more than half of the $962.5 million

settlement.92 All aboriginal rights in Alaska were extinguished.93 All claims based on

aboriginal rights were extinguished.94 All litigation based on aboriginal rights was

barred.95 No one held aboriginal rights to Alaska’s fisheries.

       With ANCSA, Congress cleared the way for the State to freely manage its

fisheries, to protect and preserve its salmon fisheries, and to treat all commercial

fishermen the same.




90
       43 U.S.C. §§ 1602, 1611, 1618.
91
       See Commercial Fisheries Entry Commission v. Apokedak, 606 P.2d 1255
(Alaska 1980) (providing an extremely thorough history pertaining to the Limited Entry
Act.).
92
      Yellen v. Confederated Tribes of Chehalis Reservation, 141 S.Ct. 2434, 2439
(2021).
93
       43 U.S.C. § 1603
94
       Id.
95
       Id.
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       H.     In the 1970s the State of Alaska passes a constitutional measure and
              adopts the limited entry program, which treats all commercial
              fishermen the same.

       The mismanagement of salmon in the 1920s ultimately led to the Alaska

Statehood Act and ANCSA, which allowed the State to effectively manage its fisheries

under a sustained yield principle.96 The State of Alaska would also amend its Constitution

to bar any exclusive fisheries or exclusive rights.97 The State’s limited entry permit

program was then adopted to ensure the State’s fisheries would not be depleted like they

were under federal management.98

       Under the limited entry permit program, MIC members were treated the same as

other commercial fishermen, and thus in the 1970s they too were awarded limited entry

permits.99 MIC members sold or lost those permits over time.100

       Therefore, after almost 140 years of being subject to the same fishing laws as all

other commercial fishermen, which includes fifty years of being subject to the limited

entry program, MIC now asserts its members hold an implied off-reservation fishing




96
       Ernest Gruening, The State of Alaska 400-05 (1968).
97
       Alaska Constitution, Article VIII, § 15.
98
       Scudero v. State, 496 P.3d 381, 386 – 388 (Alaska 2021).
99
      Metlakatla: Holdings of Limited Entry Permits, Sablefish Quota Shares,
and Halibut Quota Shares through 1997 and Data on Fishery Gross Earnings,
CFEC Report-98-SPMEtlakat-N (AK CFEC 1998); see also Dinneford, Elaine,
“Changes in Holdings of Permanent Limited Entry Permits in Metlakatla, Alaska; 1975-
1991,” CFEC Report-92-12 (AK CFEC 1992).
100
      Id. If Metlakatlans fished off-reservation as much as they assert, they would have
been awarded permits assuming they applied. See 20 AAC 05.610.
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right, that the State’s limited entry program infringes on that right, and that its members

can commercially fish in Southeast Alaska without a limited entry permit.

III.   Procedural history

       On August 7, 2020, MIC filed a complaint for relief.

       On October 15, 2020, the State moved to dismiss. This Court granted the State’s

motion and dismissed MIC’s complaint based on its interpretation of the 1891 Act.101

The district court held that MIC’s allegations were insufficient: that the Metlakatlans’

historical reliance on fishing and that Congress in creating the reservation to encourage

self-sufficiency did not establish an implied off-reservation fishing right.102

       MIC appealed this Court’s decision to the Ninth Circuit.

       On January 31, 2023, the Ninth Circuit reversed this Court’s decision granting the

State’s Rule 12(b)(6) motion to dismiss.103 The Ninth Circuit determined that when

Congress created the Annette Islands Reserve, it did not extinguish the Metlakatlans’

aboriginal rights, with Metlakatlans being defined as “descendants of the Tsimshian

people.”104 It concluded that Congress, in passing the 1891 Act, “confirmed”

the Community’s aboriginal rights.105 The Ninth Circuit concluded the Act reserved




101
       Metlakatla Indian Community v. Dunleavy, 2021 WL 960648 (Feb. 17, 2021),
reversed by 58 F.4th 1034 (9th Cir. 2023).
102
       Id.
103
       Metlakatla Indian Community v. Dunleavy, 58 F.4th 1034, 1046 (9th Cir. 2023).
104
       Id. at 1044; emphasis added.
105
       Id. at 1046.
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“for the Metlakatlan Indian Community an implied right to non-exclusive off-reservation

fishing in the areas where they have fished since time immemorial and where they

continued to fish in 1891 when their reservation was established.”106

       The Ninth Circuit then remanded to this Court to determine whether the

Metlakatlans’ aboriginal fishing rights in 1891 included fishing districts 1 and 2.107

       On May 12, 2023, MIC amended its complaint to align with the Ninth Circuit’s

aboriginal rights focused ruling by alleging that “When Congress created the Annette

Islands Reserve . . . it reserved the right of the Metlakatlans to . . . off-reservation fishing

in the areas where they have fished since time immemorial.”108 Absent a few

generalizations, MIC’s complaint includes no specific factual assertions that the

Metlakatlans that emigrated to Alaska had “actual, exclusive, and continuous use” of

fishing districts 1 and 2 prior to 1891.109

       The Defendants now move for summary judgment.

                                        ARGUMENT

       To successfully assert an implied off-reservation fishing right, MIC must prove

that the Metlakatlans in 1891 held aboriginal fishing rights in fishing districts 1 and 2.

Due to ANCSA’s extinguishment clause, their failure to plead any facts that Metlakatlans

held aboriginal rights in fishing districts 1 and 2, and the Tlingit and Haida takings


106
       Id. at 1048.
107
       Id.
108
       Second Amended Complaint, ¶ 57; emphasis added.
109
       Id. in general.
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litigation, MIC can never prove its aboriginal rights case. For these reasons,

the Defendants’ motion for summary judgment should be granted.

I.     ANCSA extinguished all claims and barred any litigation based on aboriginal
       rights and did not exempt any tribe, group, or political body from that
       extinguishment clause.

       ANCSA bars this litigation. “ANCSA had one overriding purpose: to clear title

through Congressional action.”110 To accomplish this purpose, Congress included Section

4 to broadly extinguish all aboriginal rights and all claims based on aboriginal rights in

Alaska.111 This included the extinguishment of “[a]boriginal fishing and hunting rights

[because they were] precisely the kind of rights Congress wished to extinguish.”112

To ensure a full and complete extinguishment of all aboriginal rights in Alaska, Congress

did not simply extinguish all aboriginal rights, but also extinguished any and all claims

based on aboriginal rights.113 Section 4(c) of ANCSA states,

              All claims against the United States, the State, and all other persons
              that are based on claims of aboriginal right, title, use, or occupancy
              of land or water areas in Alaska, or that are based on any statute or
              treaty of the United States relating to Native use and occupancy, or
              that are based on the laws of any other nation, including any such
              claims that are pending before any Federal or state court or the
              Indian Claims Commission, are hereby extinguished.114

110
       Cape Fox Corp. v. U.S., 4 Cl. Ct. 223, 232 (Ct. Claims 1983).
111
       43 U.S.C. § 1603.
112
        People of Village of Gambell v. Clark, 746 F.2d at 576; see also 746 F.2d at 578
(“The Alaska Federation of Natives further clarified . . . in a supplemental statement . . .
that the settlement should extend to all claims founded upon aboriginal title or use and
occupancy of lands, including claims relative to fishing rights.”)
113
       43 U.S.C. § 1603.
114
       43 U.S.C. § 1603(c); emphasis added.
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Under this section, Congress wanted to address “those claims which threatened to

interfere” with ANCSA’s policy of extinguishing aboriginal rights.115 Section 4(c)

broadly and clearly barred any aboriginal rights litigation in Alaska.116

       Section 4(c) of ANCSA does not exempt MIC, Metlakatlans, or Tsimshian.117

Congress considered a bill that extinguished only “native” aboriginal claims, and rejected

it.118 “Native,” is defined as “a citizen of the United States who is a person of one-fourth

degree or more Alaska Indian (including Tsimshian Indians not enrolled in the Metlaktla

[sic] Indian Community).”119 Instead, Congress extinguished all aboriginal rights and

claims based on aboriginal rights and did so as broadly as possible by ensuring the

extinguishment did not rely on the term “Native.”120 This prevented any suggestion that

some aboriginal rights litigation could survive ANCSA.121 If Congress intended to



115
       Aleut Community of St. Paul Island v. U.S., 480 F.2d 831, 833 (Ct. Cl. 1973).
116
      See Aleut Community of St. Paul Island v. U.S., 480 F.2d 831, 833 (Ct. Cl. 1973);
Monroe v. California Yearly Meeting of Friends Church, 564 F.2d 304 (9th Cir. 1977);
and Inupiat Community of Arctic Slope v. U.S., 680 F.2d 122 (Ct. Cl. 1982).
117
     See 43 U.S.C. § 1603 (none of the three extinguishment clauses include any
exemptions, and in fact none of them even use the phrase “native.”).
118
       Alaska Native Land Claims, Hearings Before the Subcommittee on Indian Affairs
of the Committee on Interior and Insular Affairs – House of Representatives,
“H.R. 13142 and H.R. 10193 – Bills to Provide for the Settlement of Certain Land
Claims of Alaska Natives, and for Other Purposes,” Serial No. 91-8, pp. 20, 123
(U.S. Gov. Printing 1969).
119
       43 U.S.C. § 1601(b).
120
       Congress did use the term “Native” later in 43 U.S.C. 1603(c), in the phrase
“or treaty of the United States relation to Native use and occupancy.” Congress use of
“Native” here only further supports this argument.
121
       43 U.S.C. § 1603.
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authorize litigation pertaining to aboriginal rights in Alaska by the Metlakatlans,

Tsimshian, or MIC members, Congress could have expressed that intention. It did not.

       Because section 4 of ANCSA is unambiguous, the Indian canon does not apply.122

“The canon of construction regarding the resolution of ambiguities in favor of Indians . . .

does not permit reliance on ambiguities that do not exist; nor does it permit disregard of

the clearly expressed intent of Congress.”123 Indeed, the Ninth Circuit has squarely

rejected applying that canon to Section 4 of ANCSA because Section 4 must be

“construed ‘broadly’ to extinguish all claims and litigation, and this takes precedence

over generalized rules of construction.”124

       ANCSA ends this litigation. Congress did not broadly extinguish aboriginal rights

and bar litigation based on aboriginal rights in 1971, only for them to be squarely

litigated in Southeast Alaska in 2023. The State did not pay $500 million of a $962.5

million settlement to have aboriginal rights litigation revived in 2023. Nothing in Section

4(c) of ANCSA can be construed as exempting MIC, Tsimshian, or Metlakatlans from

Congress’ plain and broad extinguishment. Section 4(c) was included in ANCSA to




122
       Carcieri v. Salazar, 555 U.S. 379, 387 (2009) (When statutory language is
“plain and unambiguous” it should be applied “according to its terms.”); U.S. v. Atlantic
Richfield Co., 612 F.2d 1132, 1138-1139 (9th Cir. 1980).
123
       South Carolina v. Catawba Indian Tribe, 476 U.S. 498, 506 (1986).
124
      U.S. v. Atlantic Richfield Co., 612 F.2d 1132, 1138-1139 (9th Cir. 1980).
The Ninth Circuit has also questioned the Indian canon’s applicability given the context
of ANCSA’s passage. Id. at 1139.
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prevent precisely the type of litigation MIC brings here; litigation that ultimately

undermines the State’s ability to uniformly manage its fisheries.

 II.    In their complaint, MIC failed to plead any facts that the Metlakatlans in
        1891 had exclusive use of fishing districts 1 and 2 that can give rise to the
        requisite aboriginal right for their implied off-reservation fishing right
        claim.

       Even if this Court determines that ANCSA does not end this litigation, summary

judgment is still appropriate. The Ninth Circuit adopted the reserved rights doctrine,

which means MIC must prove that when Congress passed the 1891 Act, the Metlakatlans

actually, continuously, and exclusively fished in fishing districts 1 and 2 since time

immemorial. As explained below, they can never meet that showing.

       A.     The Ninth Circuit adopted the reserved rights doctrine, which means
              MIC has the burden of proving that the emigrant Metlakatlans in 1891
              actually, exclusively, and continuously fished in fishing districts 1 and 2
              since time immemorial.

       The Ninth Circuit on appeal clarified that an implied off-reservation fishing right

requires the tribe to prove it had aboriginal rights (i.e., “actual, exclusive and continuous

use” of the fishery in question since “time immemorial.”). In its conclusion, the Ninth

Circuit held that the 1891 Act reserved off-reservation fishing “in the areas where

[MIC had] fished since time immemorial and where they continued to fish in 1891 when

their reservation was established.”125 Remember, aboriginal rights are often referred to as




125
        Metlakatla Indian Community v. Dunleavy, 58 F.4th at 1048. The Court’s inquiry
is the rights that “vest[ed] on the date the reservation was created.” Colville Confederated
Tribes v. Walton, 647 F.2d 42, 46 (9th Cir. 1981).
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rights held since “time immemorial.”126 In rejecting the State’s argument that MIC’s

claim failed because Metlakatlans “ha[ve] no aboriginal rights to preserve,” the Ninth

Circuit stated that “Metlakatlans and their Tsimshian ancestors asserted and exercised a

right to fish in these waters since time immemorial,” and the 1891 Act “confirmed the

continued existence of this right.”127 In rejecting the State’s argument that Winters applies

only to off-reservation water rights to ensure adequate water within the reservation,128

the Ninth Circuit cited with approval a case from the Western District of Michigan

applying the “reserved rights” doctrine to off-reservation fishing rights.129

       The conceptual framework for interpreting a “reserved right” in the context of an

off-reservation fishing right is that a “grant or cession in the treaty” is “not made from the

United States to the Indians.”130 Rather, “the Indians were the grantors of a vast area they




126
      Johnson v. M’Intosh, 21 U.S. 543, 549-550 (1823); Northwestern Bands of
Shoshone Indians v. U.S., 324 U.S. 335, 338 – 339 (1945); Tee-Hit-Ton Indians v. U.S.,
348 U.S. 272, 277 (1955); and Oneida Indian Nation of N.Y. State v. Oneida County,
New York, 414 U.S. 661, 664 (1974).
127
       Metlakatla Indian Community v. Dunleavy, 58 F.4th at 1046 (bracket omitted).
128
       See Arizona v. Navajo Nation, 14 18043 S. Ct. (2023) (“Under this Court's
longstanding reserved water rights doctrine, sometimes referred to as
the Winters doctrine, the Federal Government's reservation of land for an Indian tribe
also implicitly reserves the right to use needed water from various sources—such as
groundwater, rivers, streams, lakes, and springs—that arise on, border, cross, underlie,
or are encompassed within the reservation.” (citations omitted)).
129
       Metlakatla Indian Community v. Dunleavy, 58 F.4th at 1044 (citing United States
v. Michigan, 471 F. Supp. 192, 253, 258 (W.D. Mich. 1979), aff'd, 653 F.2d 277).
130
       471 F. Supp. at 254; see also Cohen’s Federal Indian Law, §§ 18.02 – 18.03[1]
(Lexis Nexus 2012); Makah Indian Tribe v. Quileute Indian Tribe, 873 F.3d 1157, 1166-
1167 (9th Cir. 2017); and U.S. v. Adair, 723 F.2d 1394, 1414 (9th Cir. 1983).
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owned aboriginally and the United States was the grantee.”131 “The Indians’ claim to

reserved fishing rights [therefore] depends upon their having possessed such [aboriginal]

rights at the time of the cessation.”132 The Michigan district court in U.S. v. Michigan

used the Winters doctrine to buttress its conclusion that the treaty did not extinguish

aboriginal rights because doing so “would have been tantamount to agreeing to a

systemic annihilation of their culture, and perhaps of their very existence.”133

Therefore, the aboriginal rights the tribe held when the treaty or act was passed defines

the scope of the implied off-reservation fishing right the tribe holds under the “reserved

rights” doctrine.

       Consistent with the above, no court has found a tribe holds an implied off-

reservation fishing right absent ever holding an aboriginal right to the fishery and water

in question.134 The Ninth Circuit did not do so either.135 The Ninth Circuit also did not

purport to create new law or suggest it was expanding the Winters doctrine to ignore

whether the tribe held an aboriginal right in the areas in question when Congress created

the reservation.136 Instead, the Ninth Circuit clearly applied the “reserved rights

doctrine.”137


131
       471 F. Supp. at 254.
132
       471 F. Supp. at 255.
133
       Id. at 247-48.
134
       See Cohen’s Handbook of Federal Indian Law § 18.04.
135
       Metlakatla Indian Community v. Dunleavy, 58 F.4th at 1044.
136
       Id. at 1044 – 1045; 1046.
137
       Id. at 1043.
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        Therefore, MIC’s litigation hinges on proving the Metlakatlans that emigrated to

the Territory of Alaska held an aboriginal right in fishing districts 1 and 2 when Congress

created the Annette Islands Reserve in 1891. To prove the existence of an aboriginal right

MIC has “the burden of proving [the Metlakatlans had] actual, exclusive, and continuous

use and occupancy” in fishing districts 1 and 2 since time as of 1891.138 For the reasons

provided below, MIC cannot meet that burden.

        B.     As their complaint shows, MIC cannot prove that the emigrant
               Metlakatlans in 1891 actually, exclusively, and continuously fished in
               fishing districts 1 and 2 since time immemorial.

        In their complaint, MIC has failed to plead any facts that the Metlakatlans held an

aboriginal right in fishing districts 1 and 2; that there are no facts that they exclusively

used fishing districts 1 and 2 prior to Congress creating the Annette Islands Reserve in

1891.

        On appeal, the Ninth Circuit determined that when Congress created the Annette

Islands Reserve in 1891, it reserved for the Metlakatlans the aboriginal fishing rights it

enjoyed since time immemorial.139 The Ninth Circuit remanded for this Court to




138
      Native Village of Eyak v. Blank, 688 F.3d 619, 622 (9th Cir. 2012); Johnson v.
M’Intosh, 21 U.S. 543, 549-550 (1823); Northwestern Bands of Shoshone Indians v. U.S.,
324 U.S. 335, 338 – 339 (1945) (using the phrases “immemorial title” and “immemorial
occupancy” to discuss aboriginal rights); Tee-Hit-Ton Indians v. U.S., 348 U.S. 272, 277
(1955); Oneida Indian Nation of N.Y. State v. Oneida County, New York, 414 U.S. 661,
664 (1974).
139
        Id.
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determine whether the Metlakatlans’ historic fishing grounds—the situs of their

aboriginal rights—included fishing districts 1 and 2.140

       To prove the presence of an aboriginal right, “[a tribe has] the burden of proving

actual, exclusive, and continuous use and occupancy for a really long time of the claimed

area.”141 A tribe’s complaint based on aboriginal rights must allege the tribe fished in a

certain location, they fished in that location to the exclusion of all other tribes, and had

fished in that location since time immemorial.142 For exclusivity, the tribe must allege

they “exercised control over [the claimed area] and over other Indians who may have

ventured therein.”143 “Actual and continuous use” requires the tribe to allege they

“continued to use” the area in question for “hundreds of years . . . for traditional

purposes.”144 A tribe may have successfully pled actual and continuous use, but if the

tribe fails to plead exclusivity, the claim fails.145

       Here, MIC’s complaint includes no facts alleging they had “exclusive control”

over fishing districts 1 and 2. Their complaint contains only two general assertions of the

Metlakatlans fishing in the Territory of Alaska’s waters prior to 1891:

       1. While the Tsimshian maintained a central village, their fishermen migrated
          with the fish runs, establishing temporary fishing villages along the coast and
          rivers of British Columbia, and engaged in frequent trading voyages to the

140
       Id.
141
       Native Village of Eyak v. Blank, 688 F.3d 619, 622 (9th Cir. 2012).
142
       See U.S. v. State of Mich., 471 F.Supp. 192 (W.D. Mich. 1979).
143
       Pueblo of Jemez v. U.S., 790 F.3d 1143, 1166 (10th Cir. 2015).
144
       Pueblo of Jemez, 790 F.3d at 1166.
145
       Id.
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          villages of other Alaskan Native tribes, such as the Tlingit and Haida tribes.
          From these locations and during these excursions, the Tsimshian fished
          throughout the waters of Southeast Alaska, including as far north as 50 miles
          from what is now Annette Islands Reserve.146

       2. The ancestors of the Metlakatlans, which includes the Tsimshian people and
          ‘such other Alaskan natives as may join them’ fished throughout Southeastern
          Alaska from time immemorial.147

At best, these allegations suggest the Metlakatlans may have “wandered over” these

southeast waters and used the fisheries of the Tlingit and Haida tribes during their

“excursions.”148 But they cannot be read to suggest the Metlakatlans “used and occupied

[fishing districts 1 and 2] to the exclusion of other Indian groups.”149

       The minimal facts presented in their complaint, taken as true, would fail to prove

that the Metlakatlans150 exclusively fished in fishing districts 1 and 2 when Congress

created the Annette Islands Reserve in 1891. The absence of facts is for a good reason:

the Court of Claims in 1959 determined the Tlingit and Haida Indians, not the Tsimshian




146
       Second Amended Complaint, ¶ 13.
147
       Id. at. ¶ 15.
148
       Pueblo of Jemez, 790 F.3d at 1166.
149
       Pueblo of Jemez, 790 F.3d at 1166; emphasis added. See also Zuni Tribe of New
Mexico v. U.S., 12 Cl.Ct. 607, 608 (Ct. Cl. 1987) (a tribe can prove exclusive use if there
is evidence that other tribes used those lands that was “either temporary and under
agreement with the [Tribe] or was of specific short duration and the result of raid or other
hostile intrusion.”).
150
       Metlakatla Indian Community v. Dunleavy, 58 F.4th at 1046 (“Metlakatlans and
their Tsimshian ancestors asserted and exercised a right to fish in these waters since time
immemorial.”).
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or Metlakatlans, held aboriginal rights to these waters.151 This presents a factual obstacle

they can never sidestep.

III.     MIC cannot rely on aboriginal rights of individual members of Tlingit or
         Haida descent to assert MIC has aboriginal rights in fishing districts 1 and 2.

         The Ninth Circuit requested this Court determine if the Metlakatlans, defined as

Tsimshian ancestors, held aboriginal rights in fishing districts 1 and 2 when Congress

created the Annette Islands Reserve in 1891.152 The Ninth Circuit did not suggest this

Court’s inquiry included the aboriginal rights held by MIC members of Tlingit and Haida

descent.153 Such an inquiry also conflates the historic tribe with the modern tribal

organization.

         However, there are three legal reasons why MIC cannot rely on Tlingit and Haida

Indians’ aboriginal rights: (1) res judicata; (2) ANCSA extinguished all aboriginal rights

in Alaska, including those held by all Tlingit and Haida Indians; and (3) MIC is not a

successor-in-interest to those aboriginal claims.

         A.     Res judicata bars MIC members of Tlingit and Haida descent from
                relying on the Court of Claims’ decision in the Tlingit and Haida
                takings litigation.

         Res judicata bars Tlingit and Haida members from asserting they hold aboriginal

rights in fishing districts 1 and 2 that yields an off-reservation fishing right. The Court of



151
         Tlingit and Haida Indians of Alaska v. U.S., 177 F.Supp. 452, 467-468 (Ct.Cl.
1959).
152
         Metlakatla Indian Community v. Dunleavy, 58 F.4th at 1045, 1046.
153
         Id.
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Claims determined the Tlingit and Haida Indians held aboriginal fishing rights to

Southeast Alaska’s fisheries and that certain conduct and acts after 1884 extinguished

those rights.154 The Tlingit and Haida Indians were compensated for those takings.155

       “Under res judicata a final judgment on the merits of an action precludes the

parties or their privies from relitigating issues that were or could have been raised in that

action.”156 “To establish that a claim is barred by res judicata a party must show: (1) the

first suit resulted in a final judgment on the merits; (2) the first suit was based on proper

jurisdiction; (3) both suits involve the same parties (or those in privity with them); and

(4) both suits are based upon the same claims or causes of action.”157 All four elements

bar MIC members of Tlingit or Haida descent from asserting they hold an aboriginal right

in fishing districts 1 and 2.

       First, the Tlingit and Haida takings litigation reached a final judgment. The Tlingit

and Haida Indians were found to have had aboriginal claims that Congress

extinguished.158 Those claims were settled in 1968.159 The Tlingit and Haida Indians were

compensated for the determined value of those takings both in the takings litigation and


154
       Id.
155
      Tlingit and Haida Indians of Alaska v. U.S., 389 F.2d 778 (Ct. Cl. 1968);
43 U.S.C. § 1615(c).
156
       Yankton Sioux Tribe v. U.S. Dept. of Health and Human Services, 533 F.3d 634,
639 (8th Cir. 2008).
157
       Id.
158
      Act of June 19, 1935, 49 Stat. 388; Tlingit and Haida Indians of Alaska,
177 F.Supp. at 467-468; and Tlingit and Haida Indians of Alaska, 389 F.2d 778.
159
       Tlingit and Haida Indians of Alaska, 389 F.2d 778.
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then in ANCSA.160 A compensation award, no matter the amount, constitutes a final

judgment.161

       Second, the Tlingit and Haida aboriginal rights litigation was based on proper

jurisdiction. In 1935, Congress passed a law granting the Tlingit and Haida Indians

jurisdiction to sue the United States related to takings of state land.162 Congress directed

the Court of Claims to hear the case.163 The Court of Claims heard the case.164

Therefore, jurisdiction was proper.

       Third, the litigation applied to all Tlingit and Haida Indians.165 Congress afforded

a right to sue and compensation to be paid to “all persons of Tlingit or Haida blood,

living in or belonging to any local community of these tribes” in Southeast Alaska.166

There is no evidence that Tlingit and Haida Indian members of MIC were excluded from

these rolls. Therefore, any Tlingit and Haida Indian members of MIC were in “privity”

with the Court of Claims’ decisions.

       Fourth, and lastly, the Court of Claims was asked to determine who held

aboriginal fishing rights in Southeast Alaska, effectively the same legal question now

being presented to this Court. The Court of Claims held that the creation of the Annette


160
       Id.; 43 U.S.C. § 1615(c).
161
       Id.
162
       Act of June 19, 1935, 49 Stat. 388.
163
       Id.
164
       Id.
165
       Id.
166
       Act of June 19, 1935, 49 Stat. 388.
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Islands Reserve and the 1916 presidential proclamation granting the Metlakatlans an

exclusive fishery were both takings:

              In conclusion, we hold that the plaintiffs have established their use
              and occupancy, i.e., Indian title, of the lands and waters in
              southeastern Alaska . . . that they were using and occupying that land
              according to their native manner of use and occupancy in 1867 when
              the United States acquired Alaska from Russia; that following the
              purchase of Alaska in 1867 these Indians continued to exclusively
              use and occupy the same areas of land and water as previously, and
              that such use and occupancy was not interfered with by the United
              States or its citizens until 1884; that beginning in 1884 and
              continuing thereafter, these Indians lost most of their land in
              southeastern Alaska through the Government's failure and refusal to
              protect the rights of the Indians in such lands and waters, through the
              administration of its laws and through the provisions of the laws
              themselves; that a large area of land and water in southeastern
              Alaska was actually taken without compensation and without the
              consent of the Indians, through Presidential proclamations issued
              pursuant to law, and through reservation of part of the land for
              Canadian Indians under the Act of March 3, 1891 [i.e. the Act that
              created the Annette Islands Reserve.].167

The Court also held that, “The most valuable asset lost to these Indians was their fishing

rights in the area they once used and occupied to the exclusion of all others.”168

This aboriginal fishing right was taken from the Tlingit and Haida Indians because the

United States allowed groups like the Metlakatlans to freely fish in Southeast Alaska and

Congress created the Annette Islands Reserve.169




167
       Tlingit and Haida Indians of Alaska, 147 Ct.Cl. at 341.
168
       Id.; emphasis added.
169
       See People of Village of Gambell v. Clark, 746 F.2d 572, 574 (9th Cir. 1984).
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       The Tlingit and Haida Indians received just compensation170 for their aboriginal

rights being taken from them; with payments received under this litigation as well as

ANCSA.171 It is incongruous to suggest that the Tlingit and Haida Indians successfully

litigated the takings of their aboriginal rights – some of those takings directly tied to the

Annette Islands Reserve – but that those rights now provide the basis for MIC’s off-

reservation fishing right. That is the very definition of res judicata.

       B.     ANCSA extinguished all Alaska Natives’ aboriginal rights.

       As explained in this briefing, ANCSA extinguished all aboriginal rights in

Alaska.172 Today, MIC’s ancestors are not solely Tsimshian immigrants from Canada;

Alaska Natives have also joined the Community.173 Congress’ extinguishment of

aboriginal rights was broad and included all Alaska Natives’ aboriginal rights.174

MIC cannot revive those extinguished aboriginal rights in this litigation.

       C.     MIC is not a successor-in-interest to the Tlingit Indians and Haida
              Indians’ aboriginal rights.

       A successor-in-interest is a “political successor . . . to the Indians” who were

signatories to a treaty or a party to prior litigation.175 To be a “successor-in-interest,” a


170
     The Court of Claims determined the value was zero, and that there was no
“compensation” to award. Tlingit and Haida Indians of Alaska, 389 F.2d 778.
171
       Tlingit and Haida Indians of Alaska, 389 F.2d 778; and 43 U.S.C. § 1615(c).
172
       Supra Argument, Section I.
173
       Amended Complaint, ¶ 17.
174
       Id.
175
       U.S. v. State of Mich., 471 F.Supp. 192, 218 (W.D. Mich. 1979); Delaware Nation
v. Pennsylvania, 446 F.3d 410, 413 (3rd Cir. 2006).
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modern federally recognized tribe will present facts that they are bringing the litigation as

a political successor to claims held by the historic tribe or by individual descendants of

that historic tribe.176

       The Ninth Circuit determined that MIC was a successor-in-interest to the emigrant

Tsimshian in 1891.177 The Ninth Circuit remanded to this Court to determine the scope of

the aboriginal rights held by the emigrant Metlakatlans in 1891.178 The Court defined

those Metlakatlans as “Tsimshian ancestors.”179 The Ninth Circuit never asserted that

MIC’s claims were tied to Tlingit and Haida Indians’ aboriginal claims or Alaska

Natives’ aboriginal claims simply because they had joined the community before or after

1891.180

       The Ninth Circuit properly limited this Court’s aboriginal rights review to the

emigrant Tsimshian because Central Council of Tlingit and Haida Indian Tribes of

Alaska (CCTHITA), not MIC, is the political successor-in-interest to any aboriginal

rights held by Tlingit and Haida Indian members. The Court of Claims takings litigation

was brought by the Tlingit and Haida Indian tribes.181 In 1965, Congress recognized that

CCTHITA was the modern tribe that could assert those aboriginal rights and was entitled



176
       Delaware Nation, 446 F.3d at 413.
177
       58 F.4th at 1038, 1045.
178
       Id.
179
       Id. at 1046.
180
       Id.
181
       147 Ct.Cl. 315.
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to the just compensation award that would be issued in 1968.182 MIC is not a successor-

in-interest to those rights.

       Consistent with the Ninth Circuit’s reasoning and the 1965 legislation,

MIC’s complaint lacks facts asserting it is a successor-in-interest to the Court of Claims’

decision.183 Importantly, MIC’s complaint also fails to explain how those aboriginal

rights potentially held by individual descendants of Tlingit and Haida members apply to

all MIC members, including members that joined after 1891.184 This successor-in-interest

issue reinforces that the Ninth Circuit properly limited this Court’s aboriginal rights

review to the rights held by the emigrant Tsimshian in 1891.

                                      CONCLUSION

       This Court may ask, “how could the Ninth Circuit find the Metlakatlans held an

implied off-reservation fishing right when Congress passed the 1891 Act, but there is no

implied off-reservation fishing right in Southeast Alaska?” The answer is simple: before

emigrating, the Metlakatlans held an aboriginal right in Canada.185 Ignoring jurisdictional

headaches for a moment, that means Congress reserved Canadian aboriginal rights,

but there were no rights reserved in the historical waters of fishing districts 1 and 2.186


182
       See Act to amend the Act of June 19, 1935 relating to the Tlingit and Haida
Indians, 79 Stat. 543 (August 19, 1965); and 88 Fed. Reg. 4636 (January 12, 2023)
(CCTHITA is a federally recognized tribe).
183
       Amended complaint; generally.
184
       Id.
185
       Id. at 1037 – 1038, 1046.
186
       Id.
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       For the reasons provided above, the state’s motion for summary judgment should

be granted.

       Lastly, the defendants want to highlight one more legal issue. As the Alaska

Supreme Court determined in Scudero v. State, even if MIC members hold an off-

reservation fishing right, the State of Alaska’s Limited Entry Program was instituted for a

conservation purpose.187 The Alaska Supreme Court determined the state has the

authority to require MIC members to hold a valid limited entry permit to commercially

fish in fishing districts 1 and 2.188 If this Court were to grant the relief MIC has

requested, it would create a state and federal court split. Therefore, if it any time in this

litigation this Court finds MIC members hold an off-reservation fishing right, the State

requests this Court complete a thorough analysis of the SoHappy factors.

       DATED: September 11, 2023.

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187
       469 P.3d 381, 388 – 389 (Alaska 2021) (finding that even if MIC members held an
off-reservation fishing right, they could be regulated when they fished in state waters.).
188
        Id.
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CERTIFICATE OF WORD COUNT
Consistent with Local Civil Rule 7.4, I certify that this document complies with the court-
ordered word count limit because it contains 9856 words.

/s/ Christopher F. Orman
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CERTIFICATE OF SERVICE
I hereby certify that on September 11, 2023, I electronically filed the foregoing by using the
CM/ECF system. Participants in the case who are registered CM/ECF users will be served by the
CM/ECF system.

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